                    IN THE UNITED STATES BANKRUPTCY COURT FOR
                         THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In the Matter of:                                      )
                                                       )
ALL-STAR MEDICAL, LLC.                                 )
EIN: XX-XXX2851                                        )      CASE NO. 17-82507-CRJ11
                                                       )
               Debtor.                                 )      CHAPTER 11
                                                       )


                    DEBTOR’S THIRD AMENDED CHAPTER 11 PLAN
                    OF REORGANIZATION DATED FEBRUARY 26, 2018

       In accordance with 11 U.S.C. § 1127, All-Star Medical, LLC, Debtor and Debtor-in-

possession (“Debtor”) in the above captioned Chapter 11 case files this Third Amended Chapter

11 Plan of Reorganization Dated February 26, 2018 (“Plan”), in the United States Bankruptcy

Court for the Northern District of Alabama, Northern Division (“Bankruptcy Court” or “Court”).

                                                  I.

                                          DEFINITIONS

       The following terms shall have the following meanings unless the context otherwise

requires and, unless otherwise indicated, the singular shall include the plural. The definitions

contained in §§ 101 and 1101 of the Bankruptcy Code shall control unless different definitions are

stated herein, in which case the definitions as stated herein shall control for purposes of this Plan.

1.01   “Accounting Fees” means accounting and/or administrative management fees for

       preparing tax returns and other financial reports.

1.02   “Administrative Expense Claim” means a Claim for any cost or expense of

       administration of the Reorganization Case allowed under § 503(b) of the Bankruptcy Code,

       including without limitation any Claim for the actual and necessary costs and expenses of

       preserving the Debtor’s estate and all allowances of compensation or reimbursement of




Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                  Desc
                               Main Document    Page 1 of 23
                                                                                 All Star Medical LLC.
                                                                                 Case No. 17-82507-CRJ11
                                                                                                    Page 2

       expenses to the extent allowed by the Bankruptcy Court.

1.03   “Administrative Expense Claims Bar Date” means the date set by the Bankruptcy Court

       as the last day for filing all requests for payment of Administrative Expense Claims.

1.04   “Allowed Amount” means the amount of any Allowed Claim.

1.05   “Allowed Claim” means:

       (A) Any Claim in any Class:

                (i)    proof of which has been filed with the Bankruptcy Court prior to the Bar

                       Date, or which has been scheduled by the Debtor and not shown as disputed,

                       contingent, or unliquidated; and

                (ii)   to which no objection has been made within the Disclosure Statement or to

                       which no objection is filed no later than thirty (30) days after the Effective

                       Date or which has been allowed by Final Order; or

       (B)      Any Administrative Claim for which a motion or fee application has been filed and

                approved by the Court.

1.06   “Allowed Secured Claim” means a Claim that is both an Allowed Claim and a Secured

       Claim.

1.07   “Allowed Unsecured Claim” means a Claim that is both an Allowed Claim and an

       Unsecured Claim.

1.08   “Bankruptcy Code or Code” means Chapter 11 of Title 11, United States Code.

1.09   “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for the

       Northern District of Alabama, Northern Division.

1.10   “Bankruptcy Rule” or “Bankruptcy Rules” means one or more of the Federal Rules of




Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                     Desc
                               Main Document    Page 2 of 23
                                                                             All Star Medical LLC.
                                                                             Case No. 17-82507-CRJ11
                                                                                                Page 3

       Bankruptcy Procedure.

1.11   “Bar Date” means the date established by the Court as the deadline for filing all Claims.

       The Court scheduled December 1, 2017, as the Bar Date for all claimants to file proofs of

       claim, including governmental units and/or agencies. Claims filed after the Bar Date,

       which are not otherwise Allowed Claims, will be disallowed and of no effect.

1.12   “Claim” means a claim or interest as defined by the Code.

1.13   Intentionally Omitted.

1.14   “Class” means one of the classes of Allowed Claims or equity interests established by the

       Plan.

1.15   “Confirmation Date” means the date on which the Court pursuant to § 1129 of the

       Bankruptcy Code enters the Confirmation Order.

1.16   “Confirmation Order” means the Final Non-Appealable Order of the Court determining

       that the Plan meets the requirements of the Bankruptcy Code and is entitled to

       confirmation.

1.17   “Court” means the United States Bankruptcy Court for the Northern District of Alabama,

       Northern Division.

1.18   “Debtor” means All Star Medical, LLC.

1.19   “Effective Date” means the date on which the Confirmation Order becomes a Final Order.

1.20   “Filing Date” with respect to the Debtor means August 24, 2017, the date on which the

       Reorganization Case was commenced by the Debtor filing for relief under Chapter 11 of

       the Bankruptcy Code.

1.21   “Final Decree” means the Order entered by the Bankruptcy Court which closes the case.




Case 17-82507-CRJ11         Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                  Desc
                              Main Document    Page 3 of 23
                                                                               All Star Medical LLC.
                                                                               Case No. 17-82507-CRJ11
                                                                                                  Page 4




1.22   “Final Order” means:

       A.     An order of the Court that has become conclusive of all matters adjudicated by such

              order and:

              (i)    that is not the subject of a pending appeal and for which the time to appeal

                     or seek review or rehearing of such order has expired, or

              (ii)   that is the subject of a pending appeal but has not been stayed or as to which

                     no supersede as bond has been posted.

1.23   “IRS” means the Internal Revenue Service.

1.24   “Plan” means this Plan of Reorganization and any subsequent amendments.

1.25   “Post-Petition” means the Filing Date and the period after the Filing Date.

1.26   “Pre-Petition” means the period preceding the Filing Date.

1.27   “Priority Claim” means those expenses and claims which may be provided for under 11

       U.S.C. § 507 of the Code.

1.28   “Proponent” means Debtor.

1.29   “Pro-rata Share” means the same proportions that a given Allowed Claim within a Class

       bears to the total Allowed Claim of such Class.

1.30   “Reorganization Case” with respect to the Debtor means the reorganization case under

       Chapter 11 of the Bankruptcy Code commenced by the Debtor on or about August 24,

       2017, and pending in the Bankruptcy Court under Case No. 17-82507-CRJ11.

1.31   “Secured Claim” means a Claim allowed as secured in the real or personal property of

       Debtor.




Case 17-82507-CRJ11        Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                     Desc
                             Main Document    Page 4 of 23
                                                                              All Star Medical LLC.
                                                                              Case No. 17-82507-CRJ11
                                                                                                 Page 5




1.32   “Unsecured Claim” means an allowed Claim other than an Administrative Expense

       Claim, Priority Claim, or a Secured Claim.

                                              II.

          CLASSES AND CLASSIFICATIONS OF CLAIMS AND INTEREST

1.0    Secured Claims:

       1.01   Progress Bank and Trust: This Class consists of the Secured Claim of Progress

              Bank and Trust

       1.02   Progress Bank and Trust: This Class consists of the Secured Claim of Progress

              Bank and Trust.

       1.03   Invacare Credit Corp: This Class consists of the Secured Claim of Invacare

              Credit Corp.

       1.04   Balboa Capital Corporation: This Class consists of the Secured Claim of Balboa

              Capital Corporation.

       1.05   Wells Fargo Equipment Finance Inc.: This Class consists of the Secured Claim

              of Wells Fargo Equipment Finance Inc.

       1.06   Wells Fargo Equipment Finance Inc.: This Class consists of the Secured Claim

              of Wells Fargo Equipment Finance Inc.

       1.07 Wells Fargo Vendor Financial Servicing: This Class consists of the secured claim

              of Wells Fargo Vendor Financial Servicing.

       1.08   De Lange Laden: This Class consists of the secured claim of De Lange Laden.

       1.09   Navitas: This class consists of the secured claim of the Navitas.




Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                  Desc
                               Main Document    Page 5 of 23
                                                                                 All Star Medical LLC.
                                                                                 Case No. 17-82507-CRJ11
                                                                                                    Page 6

       1.10    TCF Equipment Finance a/k/a TCF National Bank: This class consists of the

               secured claim of TCF Equipment.

       1.12    VGM Financial, LLC.: This class consists of the secured claim of VGM Financial.

2.0    Non-Priority General Unsecured Claims.: This Class consists of all Allowed Unsecured

       Claims.

3.0    Equity Interest Holder: This Class consists of the equity shareholders of the Debtor

       which consists of Mr. Phil Garmon who owns Ninety Seven percent (97%); Mallory

       Garmon (1%); Abby Garmon (1%) and Mandy Garmon (1%). Together these shareholders

       own 100% of the issued and outstanding stock in the Debtor and are its equity interest

       holders.

                                                III.

          IMPAIRMENT AND TREATMENT OF CLAIMS UNDER THE PLAN

       The Plan will be summarized by incorporation of pertinent portions. Other provisions of

the Plan are extremely important, especially Article I, Definitions. The Plan should be read in full.

1.0    Secured Claims:

       1.01    Progress Bank and Trust: This Class consists of the Allowed Secured Claims of

               Progress Bank and Trust (“Progress”) in the approximate amount of $699,710.32

               which are impaired. This claim is evidenced by two promissory notes, which are

               secured by a lien on the Debtor’s equipment, inventory and accounts receivables

               pursuant to an commercial loan agreement. Debtor will pay, settle and satisfy this

               debt as follows: Debtor will pay Progress the sum of $7,254.92 commencing on

               the Effective date of the Plan and continuing each month thereafter for sixty




Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                     Desc
                               Main Document    Page 6 of 23
                                                                                All Star Medical LLC.
                                                                                Case No. 17-82507-CRJ11
                                                                                                   Page 7

            months. This payment includes interest at 5% per annum. Thereafter, commencing

            the sixty first (61) month Debtor shall pay the remaining balance to Progress in

            consecutive monthly payments for a period of sixty four (64) months with interest

            calculated at Prime + 1%. Progress will retain its lien upon this collateral until such

            time as the debt is paid in full.

     1.02   Progress Bank and Trust: This Class consists of the Allowed Secured Claim of

            Progress Bank and Trust in the approximate amount of $4,336.87 and is impaired.

            The Claim of Progress is secured by a lien on a 2014 Chevrolet Express Van. Debtor

            shall commence monthly payments to Progress in the amount of $371.28 per month

            for twelve months commencing on the Effective date of the Plan and continuing

            each month thereafter until the Debt is paid in full. This claim includes interest at

            5% per annum. Progress will retain all liens upon its collateral until such time as

            the debt is paid in full.

     1.03   Invacare Credit Corporation: This Class consists of the Secured Claims of

            Invacare Credit Corporation (“Invacare”) in the approximate amount of $26,751.66

            and is impaired. Invacare is secured by a lien on equipment pursuant to an

            equipment finance agreement. Debtor will settle and satisfy this debt by making

            monthly payments to Invacare in the amount of $510.99 per month for sixty months

            commencing on the Effective date of the Plan and continuing each month thereafter

            until the Debt is paid in full. This claim includes interest at 5.5% per annum. This

            creditor will retain its lien upon this collateral until such time as the debt is paid in

            full.




Case 17-82507-CRJ11        Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                      Desc
                             Main Document    Page 7 of 23
                                                                            All Star Medical LLC.
                                                                            Case No. 17-82507-CRJ11
                                                                                               Page 8

     1.04   Balboa Capital Corporation: This Class consists of the Secured Claim of Balboa

            Capital Corporation (“Balboa”) in the approximate amount of $43,589.15 and is

            impaired.    Balboa is secured by a lien on the Debtor’s, respiratory medical

            equipment. Debtor will pay, settle and satisfy this debt by making monthly

            payments in the amount of $2,400.00 per month commencing on December 19,

            2017 and continuing each month thereafter until the Debt is paid in full. This claim

            includes interest at the contract rate. This creditor will retain its lien upon this

            collateral until such time as the debt is paid in full.

     1.05   Wells Fargo Equipment Finance Inc.: This Class consists of the Secured Claim

            of Well Fargo Equipment Finance Inc. (“Wells Fargo”) in the approximate amount

            of $1,848.00 and is impaired. Wells Fargo is secured by a 2012 Chevrolet Express

            Van. Debtor will pay, settle and satisfy this debt through the payment of $390.13

            per month for four months commencing on the Effective date of the Plan and

            continuing each month thereafter until the Debt is paid in full. This claim includes

            interest at 5.5% per annum. This creditor will retain its lien upon this collateral

            until such time as the debt is paid in full.

     1.06   Wells Fargo Equipment Finance Inc.: This Class consists of the Secured Claim

            of Well Fargo Equipment Finance Inc. (“Wells Fargo”) in the approximate amount

            of $1,864.00 and is impaired. Wells Fargo is secured by a 2011 Chevrolet

            Silverado. Debtor will pay, settle and satisfy this debt through the payment of

            $393.51 per month for four months commencing on the Effective date of the Plan

            and continuing each month thereafter until the Debt is paid in full. This claim




Case 17-82507-CRJ11       Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                   Desc
                            Main Document    Page 8 of 23
                                                                                All Star Medical LLC.
                                                                                Case No. 17-82507-CRJ11
                                                                                                   Page 9

            includes interest at 5.5% per annum. This creditor will retain its lien upon this

            collateral until such time as the debt is paid in full.

     1.07   Wells Fargo Vendor Financial Services, LLC: This Class consists of the

            Secured Claim of Well Fargo Vendor Financial Services, LLC (“WFVF”) in the

            approximate amount of $4,786.64 and is impaired. WFVF is secured by lien upon

            a Sharp copier and other equipment pursuant to a finance lease agreement. The

            debtor will pay, settle and satisfy this claim through the monthly payment of

            $810.62 per month for six months commencing on the effective date of the Plan

            and continue each month thereafter until the debt is paid in full. This claim includes

            interest at 5.5%. This creditor will retain its lien upon this collateral until such time

            as the debt is paid in full.

     1.08   De Lange Landen: This class consists of the secured claim of De Lange Landon

            in the approximate amount of $16,376.42 and is impaired. The claim of De Lange

            Laden claim is secured by equipment owned by the debtor. The Debtor will pay,

            settle and satisfy this debt by amortizing it over 60 months with interest at 5.5% in

            monthly payments of $312.81. Payments will commence upon the Effective Date

            of the plan and will continue on the first day of each month thereafter until the debt

            is paid in full. This creditor will retain its lien upon this collateral until such time

            as the debt is paid in full.

     1.09   Navitas: This class consist of the secured claim of Navitas in the approximate

            amount of $12,528.50 and is impaired. Navitas claim is secured by equipment

            owned by the debtor. The debtor will pay, settle and satisfy this debt by amortizing




Case 17-82507-CRJ11        Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                      Desc
                             Main Document    Page 9 of 23
                                                                                   All Star Medical LLC.
                                                                                   Case No. 17-82507-CRJ11
                                                                                                     Page 10

              it over 60 months with interest at 5.5% in monthly payments of $239.30 per month.

              Payments will commence upon the Effective Date of the plan and will continue on

              the first date of each month thereafter until the debt is paid in full. This creditor will

              retain its lien upon this collateral until such time as the debt is paid in full.

      1.10.   TCF Equipment Finance a/k/a TCF National Bank: This class consists of the

              claim of TCF equipment Finance aka TCF National Bank in the approximate

              amount of $15,000 and is impaired. TCF is secured by certain medical equipment

              owned by the Debtor. Debtor will pay, settle and satisfy this debt by amortizing it

              over a period sixty months in monthly installments of $286.52 commencing on the

              Effective Date of the Plan and continuing each month thereafter until the Debt is

              paid in full. This claim includes interest at 5.5% per annum. This creditor will

              retain its lien upon this collateral until such time as the debt is paid in full.

      1.11.   VGM Financial LLC: This class consists of the secured claim of VGM financial

              LLC in the approximate amount of $18,530.18 and is impaired. VGM is secured by

              equipment owned by the debtor. Debtor will pay settle and satisfy this debt by

              amortizing it over 60 months with interest at 5.5% in monthly payments of $353.94

              per month. Payments will commence upon the effective date of the plan will

              continue on the first day of each month thereafter until the debt is paid in full. This

              creditor will retain its lien upon this collateral until such time as the debt is paid in

              full.

2.0   Non-priority Unsecured Claims: This class consists of all allowed general unsecured

      claims which are impaired. The total amount of unsecured claims in this case exceeds




Case 17-82507-CRJ11         Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                        Desc
                             Main Document    Page 10 of 23
                                                                               All Star Medical LLC.
                                                                               Case No. 17-82507-CRJ11
                                                                                                 Page 11

      $850,000.00. The claims are of every kind and nature including claims arising from

      personal guarantees, the rejection of executory contracts, unexpired lease claims,

      deficiencies on secured claims, contract damage claims or open account claims and

      damages arising from or related to any liquidated or contingent claim. It also includes any

      debt which is filed as a priority or secured claim but, which is allowed as an unsecured

      claim by the Bankruptcy Court. Holders of general unsecured claims without priority

      which are Allowed Claims as determined on or before the Effective Date of the Plan shall

      be paid on a pro rata distribution. Payment to the creditors in this class shall be made from

      the Debtors future net income.

             Debtor reasonably believes that creditors in this class will receive a distribution

      equal to no less than 15% percent and as high as 25% of their Allowed Claim over a period

      of five years from the Effective Date of the Plan. As noted above, the actual amount paid

      to unsecured creditors will vary since Allowed Unsecured Claims are paid on a pro-rata

      basis once all Allowed Unsecured Claims are determined. Allowed Claims in this class

      shall receive monthly payments starting on the Effective Date of the Plan over a period of

      sixty consecutive months. These payments will be weighted so that the majority of the

      payments made to creditors in this class will be made during years 2-5 of the Debtor’s plan.

      Exhibit “E” to the Disclosure Statement shows Net Income from which payments to

      Allowed Unsecured Claims will be paid.

3.0   Equity Interest Holder:      This Class consists of the equity shareholders of the debtor

      which consists of Phil Garmon who owns Ninety Seven percent (97%), Mallory Garmon

      (1%), Abbey Garmon (1%) and Mandy Garmon (1%). Together they own all of the




Case 17-82507-CRJ11        Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                     Desc
                            Main Document    Page 11 of 23
                                                                                 All Star Medical LLC.
                                                                                 Case No. 17-82507-CRJ11
                                                                                                   Page 12

       outstanding stock in Debtor.      The claim of the equity interest holders is impaired. The

       Garmon’s will retain their equity interest in the Debtor, they shall not, however, receive a

       distribution based on his Claim under the Plan until allowed administrative, priority and

       unsecured claimants have been paid or otherwise satisfied as provided for herein.

                   TREATMENT OF UCLASSIFIED ADMINISTRATIVE
                       EXPENSES AND PRIORITY TAX CLAIMS

       Administrative Expense Claims:

1.01   Heard, Ary & Dauro, LLC: This Administrative Expense Claim is unimpaired and shall
       be paid in full as of the Effective Date of the Plan unless otherwise agreed upon by the
       parties.

       Priority claims:
2.1    Internal Revenue Service: This Class consists of the Allowed Priority Claims of the

Internal Revenue under §507(a)(8) of the Bankruptcy Code. The amended claim for pre-petition

tax debt filed by the IRS in the sum of $106,876.56 shall be allowed as filed.

       The unsecured priority amount of the claim in the sum of $87,549.85 shall be amortized

over a period of five (5) years at the Internal Revenue Code interest rate of four percent (4.00%).

This amount shall be payable in sixty (60) monthly payments by the Debtor remitting to the IRS

equal monthly payments in the sum of $1,613.08. The first payment shall be due on the Effective

Date of the Plan and subsequent payments shall be due on the 1st day of each monthly thereafter

until said debt has been paid in full.

       The unsecured general portion of the IRS claim of $19,376.71 shall receive a distribution

in accordance with class 2.0 above. This amount shall be payable in sixty (60) monthly payments.

The first payment shall be due on the effective date and subsequent payments shall be due on the




Case 17-82507-CRJ11           Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                    Desc
                               Main Document    Page 12 of 23
                                                                                    All Star Medical LLC.
                                                                                    Case No. 17-82507-CRJ11
                                                                                                      Page 13

1st day of each monthly thereafter until said debt has been paid in full.

        In the event the Debtor fails to remit any monthly payment on the unsecured priority or

the general unsecured claim as each payment becomes due or pay the request for payment of

administrative expense as set for therein, the automatic stay will be considered terminated and

the IRS may proceed with its legal and/or administrative remedies to collect any and all sums

due on its amended claim and the request for payment of administrative expense.

        For the tax periods listed on the claim filed by the IRS, the time periods found at 26

U.S.C. §§ 6503(b) and 6503(h) are tolled during the term for repayment stated in this plan.

        The IRS tax debt for the tax periods listed on the IRS claim shall not be the subject of

any discharge entered in this case until the Debtor has complied with the terms of the

repayment for the unsecured priority debt, the general unsecured debt of the IRS debt and any

post-petition liability as set for herein.

        For the tax periods listed on the amended claim, the time periods found at 11 U.S.C. §

507(a)(8) are tolled during the term for repayment stated in this plan.

        The IRS reserves the right to adjust the amount of its claim if it determined through

the IRS administrative process that the amounts due on any tax period listed on the IRS claim

are due to be adjusted.

                                                  IV.

                    PROVISIONS FOR REJECTION AND ASSUMPTION
                            OF EXECUTORY CONTRACTS

        Pre-petition the Debtor was a party to a non-residential lease with Skinner Properties,

pursuant to which it leased the property located in Cullman, AL. The Debtor will either negotiate

a new lease for this facility or its will reject its lease with Skinner. The Debtor is in the process of




Case 17-82507-CRJ11            Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                      Desc
                                Main Document    Page 13 of 23
                                                                                 All Star Medical LLC.
                                                                                 Case No. 17-82507-CRJ11
                                                                                                   Page 14

negotiating new leases for its locations in Albertville and Huntsville.

        Additionally, the Debtor also rejected its contract with Philips medSage, a division of

Respironics Inc. Debtor is not aware of any additional executory contracts or unexpired leases to

which it is a party. To the extent such exists it is to be rejected upon confirmation. All parties to

any executory contract or lease rejected shall have thirty (30) days from the date of the Order

Rejecting the Lease or Confirmation Date, whichever is earlier, in which to file a claim for

damages, if any, resulting from such rejection or such claims will be disallowed and will not be

eligible to participate in distributions under this Plan.

                                                  V.

                           MEANS OF EXECUTION OF THE PLAN

        5.01    Means of Implementation of the Plan.        Debtor will implement the terms of the

Plan by making payments to creditors from Debtor’s post-petition net income. By restructuring

its Debt, the Debtor has increased the likelihood of the success of the Plan. The Pro Forma Budget

submitted by the Debtor as Exhibit E to the Disclosure Statement and the Debtor’s operating

statements filed with this Court support the Debtor’s ability to make the plan payments and

therefore the plan is feasible. Debtor shall also execute such additional documents as are necessary

to comply with the terms of the Plan.

        5.02    Execution of All Documents. The Plan authorizes the Debtor to execute all

documents necessary to carry out the terms of the Plan.

        5.03    Objections to Claims and Allowance. No payment or distribution shall be made

to the holder of a Claim against which an objection has been filed within thirty (30) days of the

Effective Date until any such objection to a Claim has been determined by Final Order of the




Case 17-82507-CRJ11           Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                    Desc
                               Main Document    Page 14 of 23
                                                                               All Star Medical LLC.
                                                                               Case No. 17-82507-CRJ11
                                                                                                 Page 15

Court. Disputed and unliquidated Claims shall be estimated for purposes of voting and unless the

Court orders otherwise, payments to holders of contested claims that are subsequently allowed

shall be made in accordance with the terms of the Plan. Contest of Claims shall be filed with the

Court no later than sixty (60) days after the Effective Date.

       5.04    Amendments to Claims and Requests for Payment of Administrative Expense

Claims; Claims Filed After the Bar Dates. Unless otherwise provided in a Final Order of the

Bankruptcy Court:

       (a)     after the Bar Date, a Claim on account of which a Proof of Claim is not timely filed

in accordance with the Plan, the Bankruptcy Code, the Bankruptcy Rules or an Order of the

Bankruptcy Court, may not be filed or amended without the authorization of the Bankruptcy Court

and, even with such Bankruptcy Court authorization, may be amended by the holder of such Claim

solely to decrease, but not to increase, the face amount or priority;

       (b)     except as otherwise provided herein, after the Administrative Expense Claims Bar

Date, a Claim on account of which a request for payment of Administrative Expense Claim is not

timely filed may not be filed or amended without the authorization of the Bankruptcy Court and,

even with such Bankruptcy Court authorization, may be amended by the holder of such Claim

solely to decrease, but not to increase, the face amount or priority; and

       (c)     Except as otherwise provided in the Plan, any new or amended Claim filed after the

Bar Date or the Administrative Expense Claims Bar Date (as applicable) shall be deemed

Disallowed in full and expunged without any action by the Plan Proponent, unless the holder of

such Claim has obtained prior Bankruptcy Court authorization for the filing. The holder of a Claim

which is disallowed pursuant to this Section 5.04 shall not receive any distribution on account of




Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                   Desc
                              Main Document    Page 15 of 23
                                                                                    All Star Medical LLC.
                                                                                    Case No. 17-82507-CRJ11
                                                                                                      Page 16

such Claim. The Plan Proponent shall file with the Bankruptcy Court and serve on the holder of

any Claim whose Claim is deemed Disallowed pursuant to this Section 5.04, but whose Proof of

Claim or request for payment of an Administrative Expense Claim is subsequently deemed timely

filed or Allowed notwithstanding this Section 5.04 by a Final Order of the Bankruptcy Court, any

Objection to such Claim or request for estimation thereof within sixty (60) days (or such later date

as the Bankruptcy Court shall approve) after any such order becomes a Final Order.

        5.05    Retention of Assets. Except as provided for in the Plan, or in the order confirming

the Plan, on the Confirmation Date, the Debtor shall be vested with all of the property of the estate,

and the Debtor shall retain all property rights free and clear of all liens, charges, and other interests

of the creditors.

                                                  VI.

                    MODIFICATION AND CONFIRMATION OF THE PLAN

        6.01    Pre-Confirmation Modifications. Debtor may propose modifications hereof at

any time prior to Confirmation without leave of this Court, upon such notice as may be required

by this Court. If such modification is made after acceptance hereof, this Plan as so modified shall

be deemed accepted by all holders of Claims and Equity Interests that have previously accepted

this plan, provided that this Court finds that such modification would not materially and adversely

change the treatment of the holders of Claims or Equity Interests that have not accepted such

modification in writing.

        6.02    Post-Confirmation Modifications.

        (a)     Except as provided in Subsection (b) of this section, Debtor may modify this Plan

after Confirmation only if this Court determines that this Plan as so modified meets all of the




Case 17-82507-CRJ11           Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                       Desc
                               Main Document    Page 16 of 23
                                                                                   All Star Medical LLC.
                                                                                   Case No. 17-82507-CRJ11
                                                                                                     Page 17

requirements for confirmation.

       (b)     Notwithstanding Subsection (a) of this section, the Debtor may modify this Plan

during the period between the Confirmation Date and the "substantial consummation," provided

that this Court determines only that such modification does not materially and adversely change

the treatment of Claims or Equity Interests but merely remedies a defect or omission or reconciles

an inconsistency in or between this Plan and/or the Confirmation Order in such manner as may be

necessary to carry out the purposes and effect hereof.

       6.03     Effect of Confirmation.

       (a)     Upon Confirmation, the provisions hereof shall bind the Debtor and each holder of

a Claim whether or not (1) the Claim of such holder is impaired hereunder, or (2) such holder has

accepted this plan.

       (b)     Except as otherwise provided herein or in the Confirmation Order, Confirmation

vests all of the property of the estate in Debtor, free and clear of all Claims.

       (c)     Except as provided for in § 1141(d)(5), Confirmation discharges the Debtor from

any debt that arose before the Confirmation Date and any Claim of a kind specified in §§ 502(g),

502(h), or 502(i) of the Bankruptcy Code, whether or not (1) a proof of claim is filed with respect

thereto, (2) the debt appears in the schedules of liabilities filed by the Debtor, (3) the debt is

allowed, or (4) the holder of such debt has accepted this Plan.

       (d)     Confirmation shall constitute approval or ratification by this Court of the

assumption or rejection of the Debtor’s executory contracts and unexpired leases pursuant to

Section IV hereof.

       (e)     Confirmation shall constitute approval by this Court of all financing arrangements,




Case 17-82507-CRJ11           Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                      Desc
                               Main Document    Page 17 of 23
                                                                                 All Star Medical LLC.
                                                                                 Case No. 17-82507-CRJ11
                                                                                                   Page 18

leases, contracts, and other actions that the Debtor proposes in the Disclosure Statement or herein,

to enter into, make, or take in connection with implementation hereof, including the execution of

any documents as of the Effective Date.

                                                VII

                                          DISCHARGE

       Except as otherwise provided in the Plan or in the Confirmation Order, confirmation

creates a discharge effective as of the date of entry of the Confirmation Order, of any and all debts

of the Debtor that arose at any time before the Confirmation, including but not limited to, all

principal and interest, whether accrued before or after the Filing Date, pursuant to § 1141 (d) (1)

and 506 (d) of the Code. The discharge shall be effective as to each Claim, regardless of whether

a proof of claim therefor was filed, whether the Claim is an allowed claim, or whether the holder

thereof votes to accept the Plan. The rights afforded in the Plan shall be in exchange for and in

complete satisfaction, discharge and release of all Claims and interests of any nature whatsoever.

All creditors shall be precluded from asserting against the Debtor or its assets or properties any

claim which arises from or relates to any act, omission or transaction of any kind that occurred

prior to the Confirmation Date.


                                                VIII

               RETENTION, ENFORCEMENT AND WAIVER OF CLAIMS

       8.1     Pursuant to § 1123(b) (3) of the Code, the Debtor shall retain and may enforce any

and all claims of the Debtor except claims waived, relinquished, or released in accordance with

the Plan.

       8.2     No party in interest except the Debtor shall maintain or commence an action to




Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                     Desc
                              Main Document    Page 18 of 23
                                                                                 All Star Medical LLC.
                                                                                 Case No. 17-82507-CRJ11
                                                                                                   Page 19

recover a preference as defined in § 547(b) of the Code after the Confirmation Order is entered.

       8.3     Contests of Claims shall be filed with the Court not later than thirty (30) days after

the Effective Date.

                                                IX.

                              JURISDICTION OF THE COURT

       9.01    Continuing Jurisdiction. The Court shall retain and have exclusive jurisdiction

over the Reorganization Case for the following purposes:

       (a)     To determine any and all objections to the allowance of Claims or Interests;

       (b)     To determine any and all applications for allowances of compensation and

               reimbursement of expenses and any other fees and expenses authorized to be paid

               or reimbursed under the Bankruptcy Code or the Plan;

       (c)     To determine any applications or motions pending on the Effective Date for the

               rejection, assumption, or assumption and assignment of any executory contract and

               to hear and determine, and if need be, to liquidate any and all Claims arising

               therefrom;

       (d)     To determine any and all applications, adversary proceedings, and contested

               matters that may be pending on the Effective Date;

       (e)     To consider any modification of this Plan, remedy any defect or omission or

               reconcile any inconsistency in any Order of the Court, to the extent authorized by

               the Court;

       (f)     To determine all controversies, suits, and disputes that may arise in connection with

               the interpretation, enforcement, or consummation of the Plan or that may involve




Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                     Desc
                              Main Document    Page 19 of 23
                                                                               All Star Medical LLC.
                                                                               Case No. 17-82507-CRJ11
                                                                                                 Page 20

               or affect the value of assets of the Company administered by the Plan;

       (g)     To consider and act on the compromise and settlement of any Claim against or

               cause of action by or against the Debtor arising under or in connection with the

               Plan;

       (h)     To issue such orders in aid of execution of the Plan to the extent authorized by §

               1142 of the Bankruptcy Code;

       (i)     To enforce the workout agreement;

       (j)     To determine such other matters as may be set forth in any order or orders

               confirming the Plan or which may arise in connection with the Plan or any other

               Order or Orders confirming the Plan.

                                                    X.

                              MISCELLANEOUS PROVISIONS

       10.1    Prior Court Orders. All prior orders entered by the United States Bankruptcy

Court for the Northern District of Alabama are hereby incorporated by reference, including their

terms, conditions, benefits, requirements and obligations.

       10.01 Cramdown. With respect to any class not accepting the Plan, the Proponent does

hereby request confirmation of the Plan pursuant to § 1129(b) of the Bankruptcy Code on the

grounds that the Plan does not discriminate unfairly and is fair and equitable with respect to each

class of claims that are impaired.

       10.2    Quarterly Fees. The Debtor will be making its quarterly fees to the Bankruptcy

Administrator pursuant to 28 U.S.C. § 1930. Debtor will continue to make these payments as

required post-petition.




Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                   Desc
                              Main Document    Page 20 of 23
                                                                                 All Star Medical LLC.
                                                                                 Case No. 17-82507-CRJ11
                                                                                                   Page 21

        10.3    Compliance with Tax Requirements. In connection with the Plan, the Debtor

 will comply with all withholding and reporting requirements imposed by federal, state and local

 taxing authorities, and all distributions hereunder shall be subject to such withholding and

 reporting requirements.

        10.4    Retention of Liens. Each creditor whose claim is secured by a lien or mortgage

 on property of the Debtor shall retain such lien or mortgage until such creditor’s claim is paid in

 full according to the treatment proposed under the Plan at which time the lien shall be released.

        10.5    Employment and Payment of Professionals.

        (a)     During the period between the Confirmation Date and the Effective Date, Debtor

        may (1) continue to avail itself of the services of professional persons whose employment

        was approved at or prior to Confirmation in completing the administration of this case and

        in the consummation and performance hereof, and (2) if necessary and with the approval

        of this Court, employ additional professional persons to render such services.

        (b)     With respect to services rendered and expenses incurred in or in connection with

        this case during such period by any such professional person, the professional person may

        render periodic billings therefore to the Debtor and the Debtor shall promptly pay the same,

        but each such payment shall be subject to review and approval by this Court as to the

        reasonableness thereof in the manner prescribed by Subsection (a) of this section.

       10.6    Notice of Hearing and Motions Post Confirmation. Upon confirmation of the Plan,

all of the motions, and applications for compensation to professionals, and notices of such hearings

shall be limited to the Debtor, Bankruptcy Administrator and any party of interest directly affected

by such motion or application.




 Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                    Desc
                               Main Document    Page 21 of 23
                                                                                 All-Star Medical, LLC.
                                                                                 Case No. 17-82507-CRJ11
                                                                                                   Page 22


       10.7    Satisfaction of Claims. The rights afforded in this Plan shall be in exchange for and

in complete satisfaction, discharge, and release of all Allowed Claims, liens and encumbrances of any

nature whatsoever, including any interest accrued thereon from and after the Filing Date, against the

Debtor or any of its assets; and, except as otherwise provided herein, on Confirmation, all such

Allowed Claims against the Debtor or its assets, any other or further Allowed Claim based upon any

act or omission, transaction or other activity of any kind or nature that occurred prior to Confirmation

are satisfied, discharged and released.

                                                XI.

                                      CLOSING OF CASE

       11.01 Procedure for Closing Case. If the Court concludes that a hearing on such motion

would be appropriate, such hearing shall be conducted upon notice only to the Debtor, the Bankruptcy

Estate Administrator, and persons specially requesting notices at the hearing on confirmation.

       Respectfully submitted on this 27th February, 2018.


                                              By: Phil Garmon      _____________________
                                                All-Star Medical, LLC.



                                              /s/ Kevin D. Heard
                                              Kevin D. Heard
                                              Attorney for Debtor

                                              HEARD, ARY & DAURO, LLC
                                              303 Williams Avenue SW
                                              Park Plaza Suite 921
                                              Huntsville, Alabama 35801
                                              Phone: (256) 535-0817
                                              Fax: (256) 535-0818
                                              kheard@heardlaw.com




 Case 17-82507-CRJ11           Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                     Desc
                                Main Document    Page 22 of 23
                                                                              All-Star Medical, LLC.
                                                                              Case No. 17-82507-CRJ11
                                                                                                Page 23


                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of February, 2018, I served a copy of the foregoing
Debtor’s Third Amended Chapter 11 Plan of Reorganization Dated February 26, 2018, on the
parties listed below and on the attached matrix by depositing the same in the United States Mail,
postage prepaid and properly addressed, via electronic mail at the e-mail address below, unless the
party being served is a registered participant in the CM/ECF System for the United States Bankruptcy
Court for the Northern District of Alabama, service has been made by a “Notice of Electronic Filing”
pursuant to FRBP 9036 in accordance with subparagraph II.B.4. of the Court’s Administrative
Procedures as indicated below:

Notice will be electronically mailed to:

Richard Blythe
Richard_Blythe@alnba.uscourts.gov; courtmailann@alnba.uscourts.gov

Chad Ayers
Atttorney for Progress Bank
cayres@wilmerlee.com

C. Stephen Alexander, alalwyer@aol.com
Counsel for Invacare Corporation;

Richard E. O'Neal on behalf of United States of America Department of Treasury - Internal
Revenue Service USAALN.BANKRUPTCY@usdoj.gov

Alexandra K. Garrett
agarrett@silvervoit.com, notices@silvervoit.com

Alto Lee Teague
lteague@ehjlaw.com

Haley K Tucker
haley@kkslawgroup.com

Notice will not be electronically mailed to:

All parties on the attached matrix were served via U.S. Mail.

                                                    /s/ Kevin D. Heard
                                                    Kevin D. Heard




 Case 17-82507-CRJ11          Doc 118 Filed 02/27/18 Entered 02/27/18 15:49:35                   Desc
                               Main Document    Page 23 of 23
